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                                                   COLORA@RVED ONLY: July 9, 2021 8:37 PM
   DISTRICT COURT, COUNTY OF DENVER,                             ING ID: 342ACCB645016
   Court Address:                                              CASE NUMBER: 2020CV34319
   1437 Bannock Street
   Denver, Colorado 80202
                                                                               • COURT USE ONLY♦


   Plaintiff:
                                                                               Case # 20-CV-34319
   ERIC COOMER
                                                                               Div. 409
   Defendants:

   DONALD J. TRUMP FOR PRESIDENT, INC., Et al.

   Attorney for Defendants Joseph Oltmann, FEC United, and
   Shuffling Madness Media, Inc. d/b/a Conservative Daily
    Andrea M. Hall
    THE HALL LAW OFFICE, LLC
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    (970) 419-8234
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    Atty. Reg. #: 036410


    DEFENDANTS JOSEPH OLTMANN/FEC UNITED, INC./SHUFFLING MADNESS
      MEDIA, INC. dba CONSERVATIVE DAILY'S RESPONSES TO PLAINTIFF'S
              LIMITED DISCOVERY REQUESTS FOR PRODUCTION

         Defendants, Joseph Oltmann, FEC United, Inc., and Shuffling Madness Media, Inc., by and
  through their attorney, The Hall Law Office, LLC, hereby submit the following responsive
  documents in answer to the Plaintiff's requests.

        1. All communications (including email and text messages) about Dr. Coomer
  and/or Dominion Voting Systemsi between you and:

  a. Any other Defendant

          All relevant documents other than those privilege are provided. A privilege log is provided
  for the protected documents. Documents bates 204-206 are provided herewith.

  b. Ron Watkins (including any aliases)

                 There are no relevant documents
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         c. Matthew DePerno

         There are no relevant documents.

  d. Patrick Byrne

         There are no relevant documents.

  e. Russell Ramsland

         There are no relevant documents.

  f. Garrett Ziegler

         There are no relevant documents.

  g. The person that assisted you in gaining access to the "Antifa call" as described by you
  on the David K. Clements "The Professor's Record" podcast dated April 20, 20212
           Pursuant to the court's ruling on July 7, 2021, a protective order must be entered prior to
  production of any responsive documents. Defendants understand this request, as modified by the
  July 7, 2021 ruling, to include evidence of the identity of participants on the conference call.

  The foregoing request is limited in time from January 2020 to the present with an
  obligation to update should additional materials be discovered.

          Defendants also understand this request for production to be limited by the Court's June 8,
  2021 Order regarding Dominion/Dominion Voting Systems. "Discovery regarding communications
  regarding Dominion Voting Systems, Inc. shall not be permitted, unless the name "Dominion" is
  being used as a substitute for Dr. Coomer, for example, "the guy at Dominion" or "Dominion is going
  to fix this election" or "Dominon-izing the Vote" or "#ExposeDominion" or "someone inside
  Dominion" or "head of security at Dominion."

  2. All broadcasts and publications of Joseph Oltmann, FEC United, and/or Shuffling
  Madness Media, Inc. dba Conservative Daily containing any statements regarding
  Dr. Coomer.

          Pursuant to the Court's ruling on July 2, 2021, all responsive documents which are not
  publicly-available are produced. There are no relevant documents under these Defendants' custody
  or control.

  3. All evidence of any retractions you have made with respect to statements regarding
  Dr. Coomer.

         There are no responsive documents.

  4. All documents reflecting any investigation you made regarding the allegations
  about Dr. Coomer made by Joseph Oltmann.
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          Bates Numbers 001-203 are produced herewith.



          Respectfully submitted this 9th day of July, 2021

                                                By: /s/ Andrea M. Hall
                                                     Attorney for Defendants Oltmann/FEC
                                                     United/Shuffling Madness Media, Inc.




                                  CERTIFICATE OF SERVICE


          I hereby certify that on this 9th day of July, 2021, I electronically filed foregoing discovery

  with the Clerk of the Court using the ICCES electronic filing system, as a "serve-only" document,

  and provided for service of an electronic copy of this filing to all counsel of record.



                                                                      /s/ Andrea. M Hall




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